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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 UNITED STATES OF AMERICA                          §
                                                   §
 v.                                                §            CASE NO. 4:07cr42.47
                                                   §
 ELVA MILAN                                        §

                   REPORT AND RECOMMENDATIONS REGARDING
                 DEFENDANT’S MOTION TO WITHDRAW GUILTY PLEA

        This matter having been referred by the Honorable Richard A. Schell, on June 16, 2008, the

 Court held a hearing on the Defendant’s Motion to Withdraw Plea of Guilty and For Appointment

 of New Counsel (Dkts. 1499 and 1500). Tracey Batson appeared on behalf of the Government. John

 Nation appeared on behalf of Defendant. Having reviewed the record before it and hearing the

 arguments of counsel at the hearing, the Court finds that withdrawal is warranted in this case.

        To determine whether a defendant may withdraw a plea of guilty prior to sentencing, this

 Court must look at the following factors: (1) whether the defendant has asserted his innocence; (2)

 whether the government would suffer prejudice if the withdrawal motion were granted; (3) whether

 the defendant has delayed in filing his withdrawal motion; (4) whether the withdrawal would

 substantially inconvenience the court; (5) whether close assistance of counsel was available; (6)

 whether the original plea was knowing and voluntary; and (7) whether the withdrawal would waste

 judicial resources. U.S. v. Carr, 740 F.2d 339, 343-44 (5th Cir. 1984).

        In her letter motion to the Court, Defendant’s primary complaint is that she did not fully

 understand the terms of her plea agreement because her native tongue is Spanish. The Court does

 not find this reason to be compelling. The record indicates that an interpreter was present during the


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 plea colloquy, and Defendant was advised of the terms of her agreement in both English and

 Spanish.

        However, Defendant also raises another concern in her motion which was not addressed

 independently by counsel for either side and which the Court finds to be of great significance. The

 plea paperwork submitted jointly by counsel for both sides states that Defendant is pleading guilty

 to Count 1 of the Fourth Superceding Indictment. This count formed the basis of the plea taken by

 this Court. A review of the indictment, however, indicates that Defendant was not named in Count

 1, but rather named in Count III, which involves a totally different type of narcotic and potentially

 different penalty ranges. Notably, even after Defendant filed her motion (submitted by Defendant

 herself rather than her attorney), neither counsel for the Government nor Defendant’s counsel

 submitted anything to the Court to explain this error or seek relief from the Court, leaving the issue

 to be raised by the Court at the hearing on the motion.

        At the hearing, after recessing and conferring with opposing counsel, counsel for the

 Government indicated that she joined in the motion to withdraw the guilty plea. Based on the joint

 request to withdraw and the clear error in the plea agreement, the Court finds that withdrawal is

 warranted under Carr and its progeny. Therefore, the Court withdraws its Findings of Fact and

 Recommendation on Guilty Plea (Dkt. 1328) and recommends that the Order Adopting Magistrate

 Judge’s Report and Finding Defendant Guilty on Count One of the Fourth Superseding Indictment

 (Dkt.1342) be VACATED and that the Plea Agreement, filed on February 5, 2008 (Dkt. 1295) be

 STRICKEN from the record.




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        Defendant’s letter motion also seeks withdrawal of her counsel because she states that her

 counsel has not kept her apprised of developments in her case. A subsequent letter to the Court,

 however, indicates Defendant is now satisfied by her attorney’s performance. At the hearing, the

 Court questioned Defendant regarding her attorney’s representation and advised her of her right to

 effective counsel. Defendant stated that she wished to keep Mr. Nation as her attorney. In light of

 her statements before this Court that she believes her counsel can continue representing her,

 Defendant’s motion to withdrawal counsel is DENIED as MOOT.

                                     RECOMMENDATION

        The Court recommends that the District Court GRANT Defendant’s Motion to Withdraw

 Plea of Guilty (Dkt. 1499). The Court WITHDRAWS its Findings of Fact and Recommendation

 on Guilty Plea (Dkt. 1328) and recommends that Order Adopting Magistrate Judge’s Report and

 Finding Defendant Guilty on Count One of the Fourth Superseding Indictment (Dkt.1342) be

 VACATED and that the Plea Agreement, filed on February 5, 2008 (Dkt. 1295) be STRICKEN from

 the record.

        Defendant’s Motion to Withdraw Counsel is DENIED as MOOT.

        Within ten (10) days after service of the magistrate judge’s report, any party may serve and

 file written objections to the findings and recommendations of the magistrate judge. 28 U.S.C.A.

 § 636(b)(1)(c).

        Failure to file written objections to the proposed findings and recommendations contained

 in this report within ten days after service shall bar an aggrieved party from de novo review by the

 district court of the proposed findings and recommendations and from appellate review of factual



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     findings accepted or adopted by the district court except on grounds of plain error or manifest

     injustice. Thomas v. Arn, 474 U.S. 140, 148 (1985); Rodriguez v. Bowen, 857 F.2d 275, 276-77 (5th

     Cir. 1988).


           SIGNED this 19th day of June, 2008.

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                                                 ____________________________________
                                                 DON D. BUSH
                                                 UNITED STATES MAGISTRATE JUDGE




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